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1 ~ mainde no cl eli ;'-(.-:n-iPHIS *
vs. Civil No. 04-2902-MI/P

Thirty Nine Thousand Dollars ($39,000.00)
in United States Curreney,

One 2002 Chevrolet Avalanche,
VIN 3GNEK13T62G131404, with all
Appurtenances and Attachments Thereon,

 

Defendants.

 

 

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SUMMARY JUDGMENT

 

Comes now the Defendants, Estate of Gary Don Nance, by and through his attorney,
Timothy C. Naifeh and respectfully moves that this Honorable Court extend the deadline for
filing a response to the dispositive motions in the above-styled case. In support of this motion,
he would show as follows:

1. 'I'he deadline for filing potentially_ dispositive motions in the above-styled case is

currently August 6, 2005.

2. Counsel for the government filed a Motion for Surnmary Judgment on the 23“' day

of June, 2005 and counsel for the Defendant received the same shortly thereafter.

3. Co-Counsel, Tim Langford has been out of the office on vacation and will not

return until August 4, 2005 and cannot assist in the review of the prepared draft

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and therefore counsel is in need of additional time to complete the response.

4. Defense counsel spoke with the government’s attorney and there is no opposition

to extension of the deadline to August 30, 2005 .

CONCLUSION
F or the foregoing reason, the defense counsel for the Estate of Gary Don Nance
respectfully request that the deadline for filing an answer to the dispositive motion on behalf of
the government be extended through August 30, 2005 .

RESPECTIVELY SUBMITTED BY:

idU/%~Z/

moran c. NAIFEH #012735
Attomey for the Defendant

227 Church Street

Tiptonvi]le, '[N 38079

Phone: 731-253-8885

Fax: 731-253-8886

CERTIFICA'I'E OF SERVICE
I, Tirnothy C. Naifeh, hereby certify that a true and exact copy of the foregoing Motion
has been forwarded by U.S. mail to Chris Cotten, Assistant United States Attorney at 800 Federal
Building, Memphis, 'I`N 38103. `

 

   

' TATES DiSTRICT COURT- WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of` the document docketed as number 28 in
case 2:04-CV-02902 Was distributed by f`aX, mail, or direct printing on
August ll, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

